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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

 v.                                                Case No: 22-cr-15-APM

 ELMER STEWART RHODES, III, et al.,

                 Defendants.


                    APPLICATION FOR ACCESS TO TRIAL EXHIBITS

       Pursuant to Local Criminal Rule 57.6, applicants Cable News Network, Inc., American

Broadcasting Companies, Inc. d/b/a ABC News, The Associated Press, Buzzfeed, Inc. d/b/a

BuzzFeed News, CBS Broadcasting Inc. o/b/o CBS News, Dow Jones & Company, Inc.,

publisher of The Wall Street Journal, The E.W. Scripps Company, Gannett Co., Inc., Gray Media

Group, Inc., Los Angeles Times Communications LLC, publisher of The Los Angeles Times,

National Public Radio, Inc., NBCUniversal Media, LLC d/b/a NBC News, The New York Times

Company, Pro Publica, Inc., Tegna, Inc., and WP Company LLC, d/b/a The Washington Post

(together, the “Press Coalition”) respectfully request, under the First Amendment and common

law, same-day access to the exhibits that will be admitted into evidence at the upcoming jury

trial in this matter. In support of this application the Press Coalition states as follows:

       1.      As this Court is aware, on May 14, 2021, in response to a motion filed by the

Press Coalition, Chief Judge Beryl A. Howell issued Standing Order No. 21-28 (the “Standing

Order”). The Standing Order recognizes “[t]he significant public and media interest in the

numerous criminal cases arising from the January 6, 2021 violent breach of the United States

Capitol (the ‘Capitol Cases’).” See Standing Order at 2.
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       2.      To accommodate this interest, the Standing Order provides that “[m]embers of the

media seeking access to video exhibits submitted to the Court in Capitol Cases may file an

application . . . to the presiding judge in the case, or if no judge has been assigned, to the Chief

Judge, for determination, and the judge may seek the position of the parties.” See id. at 5.

       3.      The Standing Order further provides that “[u]pon grant of such media application,

the government shall make the video exhibit[s] available to any member of the media with

necessary access credentials provided by the government, unless the order otherwise limits

access.” See id. at 5-6. Specifically, the Standing Order states that “[m]embers of the media

provided access to video exhibits in a particular case pursuant to such order may view those

exhibits” by way of an electronic “‘drop box’” into which the Government has agreed to place

videos subject to access orders in the Capitol Cases. See id. at 6.

       4.      This is one of the Capitol Cases. Defendants are charged with a number of

claims, including seditious conspiracy, in connection with their conduct leading up to and on

January 6.

       5.      Jury selection for the trial of Defendants Roberto A. Minuta, Joseph Hackett,

David Moerschel, and Edward Vallejo is set to begin as soon as December 6, 2022. See Dec. 1,

2022 Minute Order.

       6.      Ahead of the trial for other defendants in this matter that commenced on

September 27, 2022, the Court entered an order providing that “the admitting party shall make

available to the media at the end of each trial day a copy of any admitted exhibit that has been

published to the jury and not restricted by the Court for dissemination.” Order at 3, Dkt. 327.

Consistent with this directive, the Government made hundreds of submitted exhibits available to

members of the Coalition and other requesting parties through the USAfx “drop box.”



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       7.        The Coalition anticipates the parties will similarly publish many exhibits to the

jury in the upcoming trial in this matter (the “Trial Exhibits”), and respectfully requests that the

Court enter an order directing the Parties to make the Trial Exhibits available to the Coalition

and requesting public the same day they are published.

       8.        The Trial Exhibits will be introduced with the intent “to influence the court” in its

decision-making, and as a result they will be judicial records subject to a “strong presumption in

favor of public access.” Leopold v. United States, 964 F.3d 1121, 1127-28 (D.C. Cir. 2020)

(Garland, J.).

       9.        Once these Trial Exhibits are admitted in open court, neither the Defendant nor

the Government can possibly rebut the presumption of access to them under United States v.

Hubbard, 650 F.2d 293, 317-21 (D.C. Cir. 1980). See also, e.g., Craig v. Harney, 331 U.S. 367,

374 (1947) (“A trial is a public event. What transpires in the court room is public property.”).

       10.       Because the Trial Exhibits will be judicial records subject to an unrebutted

presumption of public access upon their entry into evidence, the Court should grant this

Application and direct the Government to release Trial Exhibits to the Press Coalition via

electronic “drop box” on the same day that those Trial Exhibits are introduced into evidence.1

       11.       To expedite that release, the Court should instruct the Government to provide

Coalition members and their counsel with the “necessary access credentials” referenced in the

Standing Order.




1
 The Government has provided same-day access to trial exhibits in other Capitol riot cases.
E.g.,, Apr. 26, 2022 Minute Order, United States v. Webster, No. 21-cr-208-APM; Feb. 24, 2022
Minute Order, United States v. Reffitt, No. 21-cr-32-DLF; Order, United States v. Robertson, No.
21-cr-34-CRC, Dkt. 77.


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       12.     The Standing Order provides that “[n]o recording, copying, downloading,

retransmitting or further broadcasting of video exhibits in a particular case is permitted, unless

such permission is granted by the presiding judge.” See Standing Order at 6. The Press

Coalition therefore requests that the Court grant permission to record, copy, download,

retransmit, and otherwise further publish these Trial Exhibits.2

                                         CONCLUSION

       For the foregoing reasons, the Press Coalition respectfully requests that the Court order

the Government to provide same-day access to the exhibits admitted into evidence in the

upcoming trial in this matter.

         Dated: December 2, 2022           Respectfully submitted,

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 The Press Coalition makes this request without conceding that the Standing Order complies
with the First Amendment or common law, and expressly reserving the right to challenge this
and other portions of the Standing Order in this and other Capitol Cases.

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                                CERTIFICATE OF SERVICE
       I hereby certify that on December 2, 2022, I caused true and correct copies of the

foregoing to be served via electronic mail and U.S. Mail on the following:

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